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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

 In re:

 TRANSCARE CORPORATION, et al.,                         Bankr. Case. No. 16-10407-SMB
                                                        Chapter 7
                           Debtors,                     (Jointly Administered)


 SHAMEEKA IEN on behalf of herself and all others Adversary Proceeding No. 16-cv- 01033-SMB
 similarly situated,
                     Plaintiff,

                      v.                                 STIPULATION AND ORDER TO
                                                         EXTEND TIME TO ANSWER, MOVE OR
 TRANSCARE CORPORATION, TRANSCARE
                                                         OTHERWISE RESPOND TO THE
 NEW YORK, INC., TRANSCARE ML, INC., TC                  COMPLAINT
 AMBULANCE GROUP, INC., TRANSCARE
 MANAGEMENT SERVICES, INC., TCBA
 AMBULANCE, INC., TC BILLING AND
 SERVICES CORPORATION, TRANSCARE
 WESTCHESTER, INC., TRANSCARE
 MARYLAND, INC., TC AMBULANCE NORTH,
 INC., AND TRANSCARE HARTFORD COUNTY,
 INC., LYNN TILTON, ARK CLO 2001-1 LIMITED,
 ARK INVESTMENT PARTNERS II, L.P.,
 PATRIARCH PARTNERS, LLC, AND
 PATRIARCH PARTNERS III, LLC,

                            Defendants.




          IT IS HEREBY STIPULATED AND AGREED by and between the undersigned

attorneys for the parties that the time within which Defendants Lynn Tilton, Patriarch Partners,

LLC, Patriarch Partners III, LLC, Ark Clo 2001-1 Limited, and Ark Investment Partners II, L.P.

(collectively, “Defendants”) may move, answer, or otherwise respond to the Complaint is hereby

extended from April 4, 2016, to and including April 22, 2016 for Defendants to sufficiently
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review the Complaint and file their response. There has been no previous request for extension

of time in connection with this matter. Facsimile or electronic signatures on this Stipulation are

hereby deemed originals. No provision of this Stipulation and Order shall be construed as a

waiver of, and Defendants, hereby expressly reserve, any and all defenses.



Dated: New York, New York
       April 4, 2016


By: /s/ Jack A. Raisner                                By: /s/Kathleen M. McKenna
    Jack A. Raisner                                        Kathleen M. McKenna
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    Attorneys for Plaintiff                                Attorneys for Defendants
                                                           Lynn Tilton, Patriarch Partners
                                                           LLC, Patriarch Partners III, LLC,
                                                           Ark Clo 2001-1 Limited, and Ark
                                                           Investment Partners II, L.P.




                                               SO ORDERED this ___ day of April 2016



                                               HON. STUART M. BERNSTEIN
                                               UNITED STATES BANKRUPTCY JUDGE




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